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                                                                               Andrew E. Russell
                                                                               I.M. Pei Building
                                                                               1105 North Market Street, 12th Floor
                                                                               Wilmington, DE 19801
                                                                               (302) 298-0700
                                                                               (302) 298-0704 – Direct
                                                                               arussell@shawkeller.com


                                         October 18, 2022
BY CM/ECF & HAND DELIVERY
The Honorable Gregory B. Williams
United States District Court
844 N. King Street
Wilmington, DE 19801
       Re:     CMC Materials, Inc. v. Dupont De Nemours, Inc., et al., C.A. No. 20-738-GBW
Dear Judge Williams:
       Enclosed please find the parties’ revised proposed scheduling order, which includes no
disputes for the Court to resolve at this time. The parties jointly request that the Court cancel the
scheduling conference set for tomorrow, October 19, 2022 (D.I. 80), in light of the agreed-upon
scheduling order.

      Further, plaintiff CMC Materials, Inc. hereby withdraws its opposition, (D.I. 29), to
Dupont’s Motion for the Issuance of a Letter Rogatory for International Judicial Assistance
Regarding Fuso Chemical Co., Ltd., (D.I. 25).

          The parties are available at the Court’s convenience to address any concerns.

                                                       Respectfully submitted,

                                                       /s/ Andrew E. Russell

                                                       Andrew E. Russell (No. 5385)


cc:    Clerk of the Court (by CM/ECF & Hand Delivery)
       All counsel of record (by CM/ECF & e-mail)
